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                        Exhibit 6
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    Figures of the ’941 Patent            SilverStone RGB Controller




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    Figures of the ’941 Patent            Enermax RGB Controller




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